                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )      No.:   3:06-CR-147
                                                   )             (VARLAN/GUYTON)
 JEFFERSON L. BIVINGS,                             )
                                                   )
               Defendant.                          )


                              MEMORANDUM AND ORDER

        This criminal action is before the Court on defendant’s Motion [Doc. 360], in which

 he requests an order allowing him to review and, if necessary, copy, the offense level

 computations and criminal history sections of the Presentence Investigation Reports of his

 co-defendants, as well as the motions for downward departure filed by the government in

 connection with the sentencing of his co-defendants. The government has filed a response

 [Doc. 362] objecting to the release of defendant’s co-defendant’s offense level computations

 and criminal history sections of the presentence investigation reports and their motions for

 downward departure. Defendant filed a reply [Doc. 365].

        Presentence Investigation Reports are confidential. Each report states that “The

 Presentence Investigation Report is a privileged court document. It may not be duplicated,

 shared, quoted, or its contents otherwise released without specific court authorization.” As

 a general rule, “some showing of special need” is required before a district court should

 release a Presentence Investigative Report to a third party. U.S. Dep’t of Justice v. Julian,



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 486 U.S. 1, 12 (1988); United States v. Shyres, 898 F.2d 647, 656 (8th Cir.1990); United

 States v. Gomez, 323 F.3d 1305, 1308-09 (11th Cir.2003) (per curiam). The standard for

 determining whether to release a presentence report has “been analogized to the standards

 governing the release of grand jury materials due to a particular presumption against release

 of those materials to third parties.” Gomez, 323 F.3d at 1307 n.3 (citing United States v.

 Huckeby, 43 F.3d 135, 138 (5th Cir. 1995)); United States v. Corbitt, 879 F.2d 224, 238-39

 (7th Cir. 1989); United States v. Charmer Indus., Inc., 711 F.2d 1164, 1177 (2d Cir. 1983).

 To warrant release, “[p]arties seeking grand jury materials ‘must show that the material they

 seek is needed to avoid a possible injustice in another judicial proceeding, that the need for

 disclosure is greater than the need for continued secrecy, and that their request is structured

 to cover only the material so needed.” Gomez, 323 F.3d at 1308-09 (quoting Douglas Oil Co.

 v. Petrol Stops Northwest, 441 U.S. 211 (1979)).

        Defendant has not shown that the material he seeks is needed to avoid possible

 injustice to overcome the presumption against release. Although some of the information

 contained in the requested documents may be useful to defendant in preparing his argument

 regarding sentencing disparities, much the relevant information is also available in the public

 record through his co-defendants’ judgments. In fact, defendant has demonstrated that much

 of the information is available by citing the criminal history of many of his co-defendants in

 his sentencing memorandum. Additionally, the value of this information, and thus the need

 for it, is not as strong as defendant argues it is because “[s]ubsection 3553(a)(6) [dealing with

 unwarranted disparities] is concerned with national disparities among the many defendants

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 with similar criminal backgrounds convicted of similar criminal conduct.” United States v.

 Presley, 547 F.3d 625, 631 (6th Cir. 2008) (quoting United States v. Simmons, 501 F.3d 620,

 623 (6th Cir.2007)); see also United States v. Conatser, 514 F.3d 508, 521 (6th Cir. 2008).

 The Court may also consider disparities between co-defendants, but it is not required to do

 so. Presley, 547 F.3d at 631. Thus, defendant’s need for the disclosure does not outweigh

 the need for continued confidentiality of the reports.

        For the reasons stated herein, defendant’s Motion [Doc. 360] is hereby DENIED.

        IT IS SO ORDERED.


                                            s/ Thomas A. Varlan
                                            UNITED STATES DISTRICT JUDGE




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